      Case 1:25-cv-10685-WGY             Document 151         Filed 06/23/25       Page 1 of 6




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 AMERICAN ASSOCIATIONS OF
 UNIVERSTIY PROFESSORS, ET AL.,

                                           Plaintiffs,   No. 1:25-cv-10685-WGY
 v.

 MARCO RUBIO, in his official capacity as
 Secretary of State, and the DEPARTMENT OF
 STATE, ET AL.,

                                        Defendants.

             STIPULATED CLAWBACK AGREEMENT AND FEDERAL RULE OF
                          EVIDENCE 502(d) ORDER

        The Court hereby orders pursuant to Rule 502(d) of the Federal Rules of Evidence, Rule

26(b) of the Federal Rules of Civil Procedure, and the Court’s inherent authority that the

production of a document, or part of a document, shall not constitute a waiver of any privilege or

protection as to any portion of that document, or as to any undisclosed privileged or protected

communications or information concerning the same subject matter, in this or in any other

proceeding. This Order applies to attorney-client privilege, deliberative process privilege, and

work-product protection as defined by Federal Rule of Civil Procedure Rule 26(b), governmental

privileges including law enforcement privilege, state secrets, or any other applicable privilege.

Nothing in this Order shall constitute an admission that any document disclosed in this litigation

is subject to any of the foregoing privileges or protections, or that any party is entitled to raise or

assert such privileges. Additionally, nothing in this Order shall prohibit parties from withholding

from production any document covered by any applicable privilege or other protection.

        The parties intend that this stipulated order shall displace the provisions of Fed. R. Evid.

502(b)(1) and (2). That is, the disclosure of privileged or protected information, as described
      Case 1:25-cv-10685-WGY              Document 151        Filed 06/23/25      Page 2 of 6




above, in this litigation shall not constitute a subject matter waiver of the privilege or protection

in this or any other federal or state proceeding, regardless of the standard of care or specific steps

taken to prevent disclosure. However, nothing in this Order shall limit a party’s right to conduct

a pre-production review of documents as it deems appropriate.

       I.      DEFINITIONS

       1.      “Document,” as used herein, includes all items listed in Fed. R. Civ. P.

34(a)(1)(A) and (B).

       2.      “Documents Produced,” as used herein, includes all documents made available for

review or produced in any manner during this litigation.

       II.     PROCEDURES

       The procedures applicable to a claim of privilege on a produced document and the

resolution thereof shall be as follows:

       1.      If a party discovers a document, or part thereof, produced by another party that is

privileged or otherwise protected, the receiving party shall promptly notify the producing party

and must then return the document or destroy it. The receiving party must also promptly

identify and sequester any notes taken about the document. Nothing in this Order is intended to

shift the burden to identify privileged and protected documents from the producing party to the

receiving party.

       2.      If the producing party determines that a document produced, or part thereof, is

subject to a privilege or privileges, the producing party shall give the receiving party notice of

the claim of privilege (“privilege notice”).




                                                  2
         Case 1:25-cv-10685-WGY          Document 151         Filed 06/23/25       Page 3 of 6




         3.    The privilege notice must contain information sufficient to identify the document

including, if applicable, a Bates number as well as identification of the privilege asserted and its

basis.

         4.    Upon receiving the privilege notice, if the receiving party agrees with the

privilege assertion made, the receiving party must promptly return the specified document(s) and

any copies or destroy the document(s) and copies. The receiving party must sequester any notes

taken about the document. If a receiving party disclosed the document or information specified

in the notice before receiving the notice, it must take reasonable steps to retrieve it, and so notify

the producing party of the disclosure and its efforts to retrieve the document or information.

         5.    Upon receiving the privilege notice, if the receiving party wishes to dispute a

producing party’s privilege notice, the receiving party shall promptly meet and confer with the

producing party. The document(s) shall be sequestered immediately upon receiving the privilege

notice and not be used by the receiving party in the litigation (e.g. filed as an exhibit to a

pleading; used in deposition) while the dispute is pending. If the parties are unable to come to an

agreement about the privilege assertions made in the privilege notice, either party may make a

sealed motion for a judicial determination of the privilege claim.

         6.    Pending resolution of the judicial determination, the parties shall both preserve

and refrain from using the challenged information for any purpose and shall not disclose it to any

person other than those required by law to be served with a copy of the sealed motion. The

receiving party’s motion challenging the assertion must not publicly disclose the information

claimed to be privileged. Any further briefing by any party shall also not publicly disclose the




                                                   3
      Case 1:25-cv-10685-WGY            Document 151        Filed 06/23/25      Page 4 of 6




information claimed to be privileged if the privilege claim remains unresolved or is resolved in

the producing party’s favor.

       7.      If a document must be returned or destroyed as determined by the process above,

that document, along with copies and notes about the document, that exist on back-up tapes,

systems, or similar storage need not be immediately deleted or destroyed, and, instead, such

materials shall be overwritten and destroyed in the normal course of business. Until they are

overwritten in the normal course of business, the receiving party will take reasonable steps to

limit access, if any, to the persons necessary to conduct routine IT and cybersecurity functions.




                                                 4
      Case 1:25-cv-10685-WGY        Document 151       Filed 06/23/25      Page 5 of 6



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                                          5
     Case 1:25-cv-10685-WGY   Document 151     Filed 06/23/25      Page 6 of 6



IT IS SO ORDERED.


                                        /s/ William G. Young
June 23, 2025
                                        William G. Young
                                        United States District Judge




                                    6
